     Case 1:04-cv-00491-BH-M Document 21 Filed 11/28/05 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

MICHAEL LEON POWE,               :

     Petitioner,                 :

v.                               :         CIVIL ACTION 04-0491-BH-M

GRANTT CULLIVER,                 :

     Respondent.                 :

                               JUDGMENT


     It is ORDERED, ADJUDGED, and DECREED that JUDGMENT be

entered in favor of Respondent Grantt Culliver and against

Petitioner Michael Leon Powe.

     DONE this 28th day of November, 2005.




                                      s/ W. B. HAND
                                 SENIOR DISTRICT JUDGE
